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CRIMINAL MINUTES

                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION

CASE NO.       2:18-cr-36               DATE       2/15/2019                     TIME    10:54-11:23


USA v.      Zanaba Manet                                TAPE NO.     FTR-BWK-CR3        JUDGE     WOOD


BEFORE BENJAMIN W. CHEESBRO, U.S. MAGISTRATE JUDGE                   INTERPRETER:



  X      DEFENDANT PRESENT

  X      COUNSEL FOR DEFENDANT      Adrienne Browning, appointed
  X      ASSISTANT U.S. ATTORNEY    John Harper
  X      DEPUTY CLERK               Kim Mixon
         U.S.P.O

         U.S. MARSHAL                   Jay Ciambrone              Marty Fitzgurls              Jason Parnell
MOTION HEARING ON COUNSEL’S MOTION TO WITHDRAW AS ATTORNEY (DOC. 54).
COURT ADDRESSES PARTIES REGARDING SEALING THE RECORD ON THIS MATTER.
GOVERNMENT EXCUSED FROM HEARING. COURTROOM CLEARED AND PROCEEDINGS SEALED OFF RECORD.
COURT HEARS FROM COUNSEL FOR DEFENDANT REGARDING THE MOTION TO WITHDRAW. COURT HEARS FROM
DEFENDANT.
COURT UNSEALS THE HEARING AND PROCEEDS.
MOTION TO WITHDRAW AS ATTORNEY BY ADRIENNE BROWNING GRANTED. NEW COUNSEL FOR DEFENDANT ZANABA
MANET WILL BE APPOINTED. WRITTEN ORDER TO FOLLOW.
